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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

GLOBAL LAB PARTNERS, LLC,                 §
and GLOBAL LAB GROUP, LLC,                §
                                          §
         Plaintiffs,                      §
                                          §
v.                                        § No. 3:18-cv-00246-MCR-CJK
                                          §
DIVIDEND HEALTH LLC,                      §
DIRECTMED DX LLC, and                     §
TY H. BRUGGEMAN, individually,            §
                                          §
         Defendants.                      §

      DEFENDANTS’ RESPONSE TO PLAINITFFS’ MOTION FOR
     PRELIMINARY INJUNCTION AND MEMORANDUM OF LAW

I.       SUMMARY OF RESPONSE

         1.    Global Lab Partners, LLC (“GLP”) and Global Lab Group,

LLC (“GLG”) (collectively “Plaintiffs”) come before this Court with half

truths, rank speculation and outright red herrings for one reason – to attempt

to regain an opportunity that they lost through their own misdeeds and

odious past. Their very first overreaching request for relief – that the Court

order Dividend Health LLC       (“Dividend”) to transfer its wholly owned

subsidiary DirectMed DX LLC (“DirectMed”) into DHTX Partners LLC

(“DHTX”) – belies their goal of unjustifiably gaining control of DirectMed.




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Plaintiffs are merely using this litigation as a negotiating tactic at the

expense of, and in violation of their fiduciary duty to, DHTX.

      2.     As demonstrated in detail below, Plaintiffs have not met their

burden to show they are entitled to a preliminary injunction. In support of

their request, Plaintiffs impermissibly seek to assert DHTX’s alleged causes

of action for conversion and tortious interference with business relations

without making DHTX a party to this matter or following the strictures of

either federal or Florida law with respect to derivative actions.

      3.     With respect their allegations of breach of contract, Plaintiffs

rely upon a contractual provision that is no longer enforceable, plead alleged

minor speculative violations of the contract with no specific facts to

substantiate such allegations, and plead no specific facts to support an

alleged non-compete violation.

      4.     Finally, with respect to their claim for fraudulent inducement,

Plaintiffs own pleadings show that the alleged misstatements by Defendants

were in fact true as stated and plead no specific facts to the contrary.

      5.     Plaintiffs are now frustrated by the fact that while they were

initially provided with a full and fair opportunity to participate in an

investment that is now owned by DirectMed, they squandered that

opportunity and are now seeking a second bite at that apple.

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II.   FACTUAL BACKGROUND

      6.     DHTX is a Texas Limited Liability Company and is currently

governed by the First Amended Company Agreement of DHTX Partners,

LLC (the “DHTX Agreement”) effective on December 22, 2016.              See

Exhibit A.    On the same date, Dividend and GLP entered into the

Membership Interest Purchase Agreement (the “MIPA”) (see Exhibit B)

whereby GLP acquired 50% of the membership interests of DHTX, making

both Dividend and GLP owners of 50% of the membership interests of

DHTX. Also, on December 22, 2016, by unanimous consent of DHTX’s

members, Dividend and GLP were each appointed as managers of DHTX.

See Exhibit C. Thereafter, on March 22, 2017, DHTX entered into a Share

Transfer & Limited Dilution Agreement (the “Share Transfer Agreement”),

(see Exhibit D) with Global Lab Group, LLC (“GLG”), wherein both

Dividend and GLP each transferred 2.5% of their membership interests in

DHTX to GLG. Accordingly, the current members of DHTX are as follows:

Dividend – 47.5%; GLP – 47.5%; and GLG – 5%.

      7.     DHTX is the sole owner of Cedar Creek Labs, LLC (“CCL”).

CCL consists of a 6630 square foot clinical laboratory in Austin, Texas that

has been implementing the capability to run toxicology, blood wellness,

molecular urinary tract infection and clinical pathology tests. CCL is the

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primary business, and only means of generating revenue, of DHTX.

However, as explained in more detail below, CCL has never become fully

operational because of GLP’s failure to provide the funding in a manner that

that it initially committed to provide.

A.    The Cirrus Fiasco

      8.     In the Fall of 2016, before it sold membership interests to GLP,

Dividend had already begun negotiations with a company called Cirrus DX,

Inc. (“Cirrus”) for the right to exclusively market certain proprietary Lab

Developed Tests (“LDT’s”) to be run in CCL. After Dividend and Cirrus

had reached a preliminary agreement on essential terms, it became clear to

Dividend that it was going to have to raise a significant amount of capital to

both finish out the CCL lab as well as consummate the envisioned

transaction with Cirrus. Because of its need for capital, Dividend began

negotiating with GLP to invest in DHTX as well as to fund the Cirrus

transaction if final terms could ultimately be negotiated. As GLP admits in

its motion (see Doc. 12 p. 7) both Dividend and GLP understood, and GLP

represented, that one of its primary commitments was to provide financing

for the contemplated Cirrus transaction.        Accordingly, it is true that

Dividend disclosed to GLP, prior to the GLP’s investment in DHTX,

Dividend’s    ongoing    negotiations     between   itself   and   Cirrus,   and

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contemplated that, if GLP invested in DHTX, any future agreement with

Cirrus would be consummated with DHTX and would be funded by GLP.

However, prior to GLP’s investment in DHTX, neither Dividend nor Mr.

Bruggemann ever represented that it had finalized an agreement with Cirrus,

nor guaranteed that any such an agreement would ultimately be

consummated.

        9.   After GLP invested in DHTX, in late 2016 and early 2017,

Dividend and GLP, on DHTX’s behalf, worked together to finalize the deal

and reach an agreement between DHTX and Cirrus. True to its word, on or

about March 27, 2017, Dividend delivered a proposed final agreement, only

requiring execution and funding, whereby DHTX, through GLP, would

provide $1.1 million in capital to allow DHTX to acquire the exclusive

rights to market and process urinary tract infection and bacterial vaginosis

specimens with LDTs manufactured by Cirrus as well as joint ownership of

the intellectual property attached thereto. See Exhibit E. However, when all

parties gathered at GLP’s offices1 on or about March 30, 2017 for the

closing of this transaction, GLP failed to provide the funding as agreed, and

attempted to renegotiate the deal. In that meeting were Cirrus Executives,

Dr. Tom Huard from MED-US Consulting, Ty Bruggemann from Dividend,

1
 One or more of GLP’s owners are members of what is known as the South
Pallofax Group (“SPG”). GLP’s offices are in the same offices as SPG.
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and Alex Cover, John Levitan, Mark L’Hommedieu, Dan Levitan and

Woody Dillard from GLP & SPG. Alex Cover, Mark L’Hommedieu and

John Levitan took control of the meeting and attempted to completely

renegotiate the deal predominately by removing GLP and SPG’s obligation

to fund the $1.1 million that had already been agreed upon. After those

negotiations failed, the Cirrus executives were furious and left without

consummating the transaction. Thus, it appeared at this point that GLP’s

failure to fund the Cirrus transaction as it had promised had ruined the Cirrus

deal for DHTX.

B.    Cirrus vows to not to grant the IP to DHTX or SPG.

      10.    After the fiasco caused by GLP’s failure to fund the transaction

with Cirrus, Cirrus conducted its own background investigation into certain

members of SPG. What it found shocked Cirrus!

      11.    GLP’s membership interests are owned as follows: James

“Woody” Dillard – 50%; Clyde Petroni – 21%; Ken Ritchey – 14%;

Kathleen VanAlysteen – 11%; Jim Riggins – 3%; Dave Dugas – 1%. While

the GLP membership interests held by Mr. Dillard are in his name

individually, there seems to be some shadowy arrangement between Mr.

Dillard and SPG whereby Mr. Dillard holds GLP’s membership interests in

trust for certain of SPG’s principals. As evidence of this, it was two of

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SPG’s managing members, Alex Cover and John Levitan that spearheaded

the attempted renegotiation of the Cirrus contract. Woody Dillard said little,

if anything, in that failed renegotiation attempt.

      12.    SPG names the following persons as their “Managing

Partners”: Alexander Cover – Chief Executive Officer; John D. Levitan –

Chief Development Officer; Mark L’Hommadieu – Chief Marketing

Officer; and James “Woody” Dillard – Managing Principal.                  See

https://www.southpalafox.com/our-team.         It also lists Daniel Levitan,

brother of John D. Levitan, as a member of the SPG “team.” Id. Other than

Mr. Dillard, the other four men have criminal convictions and/or civil

judgments involving fraud, money laundering, RICO violations, and/or tax

evasion.

      13.    In 1991, Mr. Cover, SPG’s Chief Executive Officer, was

arrested by the Escambia County Sherriff’s office on 5 counts of

racketeering, 34 counts of felony grand larceny, 18 counts of securities

fraud, and 2 counts of petty larceny. See Exhibit F. Mr. Cover ultimately

pled guilty and was convicted of felony grand theft in 1994 receiving 5 years

probation as well as the misdemeanor offense of making a false statement

for which he received 1 year of probation. See id. On April 22, 2012, Mr.




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Cover was again arrested, this time for battery involving domestic violence,

a first-degree misdemeanor that was ultimately dropped or abandoned.

      14.   In 1995, SPG’s Chief Development Officer, John D. Levitan,

along with SPG team member Daniel Levitan, were caught in a sting

operation involving the Palm Beach County Sherriff’s office and the Internal

Revenue Service whereby they attempted to launder money which they

believed to be the proceeds of illegal drug operations. See Exhibit G. As

their part of the conspiracy, the Levitan brothers conspired to accept illicit

drug money, disguise it as a capital investment in their pawnshop operations,

and then launder the money by characterizing its repayment as employee

salaries. See id. John Levitan was ultimately convicted of conspiracy to

launder money and attempt to launder money proceeds from unlawful

criminal activity receiving prison terms therefor of 60 months and 168

months, respectively, as well as a $25,000.00 fine. See id. Dan Levitan was

convicted of the same crimes receiving prison terms therefor of 60 months

and 155 months, respectively, as well as a $12,500.00 fine. See id.

      15.   While SPG’s Chief Marketing Officer, Mark L’Hommadieu,

appears to have escaped criminal conviction, in 2010, he agreed to a

judgment of $100,000.00 plus interest costs in a case where he was sued

under the civil RICO statute for, among other things, engaging in illegal

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schemes including “fraudulent and illegal fee-splitting, altered medical bills,

billing for treatment not rendered, excessive and medically unnecessary

electrodiagnostic tests, MRIs, durable medical equipment, and rehabilitation

services.” See Exhibit H. Mr. L’Hommadieu not only agreed to money

damages, but the terms of his agreed judgment included the following

prohibition:

        Defendant L'Hommadieu, including any corporations or other
        entities in which he maintains an ownership interest or billing
        control, is prohibited from billing any Plaintiff2 for provision of
        medical treatment, diagnostic testing, or durable medical
        equipment or related supplies, to any person insured by any
        Plaintiff or to any of Plaintiff's subsidiaries, divisions or
        departments.

See Exhibit I docket entry No. 353.

        16.    Finally, in addition to his federal criminal record discussed

above, Dan Levitan has a considerable criminal record involving numerous

violations of Florida state law including 8 different arrests between 1986 and

2009 for charges including felony larceny, grand theft, fraud by check, other

fraud related charges, and various probation violations. See Exhibit J. For


2
  Plaintiffs in this lawsuit were all insurance companies including, Grange
Mutual Casualty Company, Grange Indemnity Insurance Company,
Trustgard Insurance Company, Allstate Insurance Company, Liberty Mutual
Insurance Company, Liberty Insurance Corporation, Liberty Mutual Fire
Insurance Company, The First Liberty Insurance Corporation, LM Insurance
Corporation, Indiana Insurance Company and Employees Insurance of
Wassau. See Exhibit H.
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these crimes, it appears that he has been to prison on at least two different

occasions. Id.

      17.   This panoply of fraud-related arrests, convictions and civil

judgments against the SPG management and other team members explains

why none of SPG’s management, other than Mr. Dillard, is named anywhere

in the ownership of GLP, and why SPG maintains its shadowy ownership of

GLP through Mr. Dillard.      In any event, once Cirrus discovered SPG

management’s checkered background, coupled with the manner in which

SPG attempted to re-negotiate the terms of the proposed agreement with

DHTX at the closing, it flatly refused to consummate any transaction

whereby the intellectual property related to the LDT’s would be owned by

any entity in which GLP, or specifically SPG, had any ownership interest.

C.    Dividend saved the Cirrus deal and secured the LDT’s for CCL.

      18.   A little over a week after GLP queered the Cirrus deal for

DHTX, on or about April 8, 2017 Cirrus contacted Dividend through Mr.

Bruggemann to inquire if Dividend would be interested consummating a

deal on its own. However, Cirrus made it clear that it would not agree to

any transaction whereby any intellectual property rights would be acquired

by GLP or specifically by the South Pallofax Group or any of its members.

While Dividend agreed that it could create a separate company to hold the

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LDT’s intellectual property rights, it stipulated that the actual tests would

have to be run through CCL that was wholly owned by DHTX. Cirrus was

amenable to this structure, and so on or about April 10, 2017, Dividend

created DirectMed to consummate the agreement with Cirrus.

        19.     Dividend ultimately reached a final agreement with Cirrus,

through its wholly owned subsidiary DirectMed, and on April 19, 2017,

entered into a Product Development and Exclusivity Agreement with Cirrus

(the “DirectMed Agreement”) (see Exhibit K) giving DirectMed, among

other things, the exclusive right to market two LDT’s, in addition to other

funding       obligations.   Approximately   one   week    after   DirectMed

consummated the DirectMed Agreement, on April 24, 2017, it entered into

an Exclusive Subcontractor Agreement with CCL (the “Subcontractor

Agreement”) (see Exhibit L) giving CCL the exclusive rights to run the

LDT’s in its lab.

        20.     Therefore, in spite of GLP’s failure to secure the money it

promised to fund the Cirrus deal with DHTX, Dividend was able to save the

deal with Cirrus, and to provide CCL with the ability to run the LDT’s in its

lab.3 Importantly, the Subcontractor Agreement provides, in part, that:



3
 The revenues related to the Cirrus LDT’s account for over 70% of CCL’s
total revenues as of 2/10/18.
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        (a) DIRECTMED shall . . . [h]ereby authorize CCL to enter
        into agreements with Cirrus to purchase reagents from Cirrus
        as well as to reference samples to Cirrus.

        (b) DIRECTMED shall . . . [h]ereby authorize CCL, for any
        tests that CCL performs in its lab related to the Assays . . ., to
        bill and collect for such testing. . . DIRECTMED hereby
        further authorizes CCL to retain all collections related to the
        Assays . . .not required to be remitted to Cirrus. DIRECTMED
        hereby agrees that it shall not be compensated for lab tests
        related to the Exclusivity Agreement performed in the CCL
        Lab.

        (c) DIRECTMED hereby agrees that during the term of this
        Agreement, so long as CCL complies with the terms and
        conditions of this Agreement, that CCL shall be its exclusive
        contractor with respect to the matters agreed to herein.

Exhibit L section 5.01(a)-(c). Shortly thereafter, on June 15, 2017, Cirrus

and CCL entered into two separate agreements, the Lab Services Purchase

Agreement and the Reagent Purchase Agreement (see Exhibit M), allowing

Cirrus and CCL to conduct business related to the LDT’s directly with

Cirrus.4

        21.   Accordingly, through the Subcontractor Agreement (see Exhibit

L) and the Lab Services Purchase and Reagent Purchase Agreements (see

Exhibit M), CCL acquired the exclusive right to run the LDT’s in its Lab,

bill and collect for them, and DirectMed agreed that it would not be


4
  For the Court’s convenience, the Defendants have provided the chart in
Exhibit N that shows the ownership structure described above as well as the
parties to the various agreements described herein.
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compensated in any manner for such tests. Furthermore, CCL has the ability

to purchase needed reagents directly from Cirrus and to use Cirrus as a

reference lab as needed. All of these rights were acquired by DirectMed in

the DirectMed Agreement (see Exhibit K), and voluntarily and purposefully

given over to DHTX through CCL so that Dividend would not be competing

with DHTX or CCL’s lab operations. The only part of the DirectMed

Agreement that DirectMed retained, per Cirrus’ requirement, was the

exclusivity and intellectual property conveyed to DirectMed in the

DirectMed Agreement, as well as the funding obligations directly related to

such intellectual property. See id. at section 7.01. To date, DirectMed has

no employees, no lab, has collected no samples to be run at a lab, has

conducted no lab tests nor referred any samples out to be tested at any lab,

has collected no revenues, and does not even own a bank account.

      22.   On behalf of Dividend, Mr. Bruggemann fully disclosed the

Cirrus transaction to GLP both orally and in writing. On May 17, 2017,

after multiple phone calls with GLP’s representatives, Mr. Bruggemann

followed up with an e-mail explaining the resulting transaction. See Exhibit

O. Because the principals of GLP were present at the failed closing and had

been party to the numerous phone calls that preceded Exhibit O, Mr.

Bruggemann did not feel it necessary to recount the circumstances

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surrounding closing fiasco in its entirety, but rather summarized it by stating

that the closing meeting in Pensacola with Cirrus “did not end well,” and

therefore Cirrus “elected not to do business directly with DHTX with regard

to the Product Development and Exclusivity Agreement.”           Furthermore,

because these matters had already been fully discussed via multiple phone

calls, Mr. Bruggemann also elected not to go into SPG’s management’s

nefarious pasts. However, Mr. Bruggemann did disclose that Cirrus elected

to contract separately with his own entity DirectMed, but that he had secured

the right for DHTX, through CCL, to still run the LDT’s and eventually to

bring the point of care tests to market.

      23.    When Mr. Bruggemann stated “[t]his [agreement] allowed us to

maintain our relationship with Cirrus, which also ensured our ability to run

the UTI at the DHTX Partners Laboratories and participate in the Point-of-

Care Reagent Rental Program,” this statement was absolutely true.           As

detailed above, through the Subcontractor Agreement (Exhibit L), and later

the Lab Services Purchase and Reagent Purchase Agreements (Exhibit M),

DHTX, via CCL, had precisely that opportunity. Accordingly, again true to

its word, Dividend had saved the Cirrus deal, and conveyed all of the

benefits of the lab testing related to the Cirrus LDT’s directly upon DHTX

and CCL.

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D.    GLP does not come to this Court with clean hands.

      24.    GLP has been a poor manager and fiduciary to DHTX from the

start. In fact, GLP has contributed little to DHTX’s management and relied

entirely on Dividend to manage DHTX and CCL. For example, when GLP

acquired its Membership interests in DHTX, it agreed to put in a total of $1

million set forth on the following schedule: $100,000.00 upon execution of

Membership Interest Purchase Agreement (12/22/16), $100,000.00, no later

than 12/27/16, $200,000,00 no later than 1/18/17, and $100,000.00 no later

than 2/3/17, and the remaining $500,000.00 to be paid to Seller either in

cash or “like kind” (defined as business or other consideration of equal

value) at buyer’s discretion, to be paid no later than 7/31/17. However, GLP

failed to contribute the funds as agreed, and thus starved DHTX of the cash

that it needed for developing its operations and capital investment. Even the

evidence that Plaintiffs attached to their motion shows that they did not

comply with the agreed upon funding schedule. See Exhibit 9 p. 15 to

Plaintiffs’ Motion. As this exhibit shows, rather than contributing the initial

required $500,000 by no later than 2/3/17, it took GLP until 4/4/17 to meet

the initial funding requirements. Accordingly, rather than being able to fund

overhead through revenue, because of the delays caused by GLP’s violation

of its agreement, DHTX had to use much of the initial $500,000 that GLP

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ultimately contributed as overhead rather than for capital investment for

which it had been planned. Once DHTX got behind on planned capital

investments, but had already added the overhead expenses in anticipation of

receiving GLP’s investment dollars, it was impossible to bring the CCL lab

to operating status in order to generate sufficient revenue to offset overhead.

As a result, DHTX never had sufficient capital to bring CCL to full

operational status.

      25.    While GLP claims that it has “put several million dollars into

DHTX and [CCL]” (Doc. 12 p. 2), what it fails to tell the Court is that

Dividend has as much, if not more, at stake in DHTX. As the MIPA shows,

while GLP agreed to put $1 million into DHTX as a loan, Dividend had

already put over $860,000 into DHTX. See Exhibit B p. 3. Furthermore,

Dividend, and Mr. Bruggemann personally, have signed guarantees on an

additional loan secured by DHTX for $1.2 million. Finally, Dividend and

Mr. Bruggemann individually, have signed guarantees on CCL’s lease as

well as its lab equipment that totals more than $2 million. Accordingly, to

suggest that Dividend and Mr. Bruggemann have no “skin” in this venture is

simply not true.

      26.    Dividend has, for the past several months, attempted to work

with GLP to address operational deficiencies and seek out additional funding

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for DHTX all to no avail. Rather than uphold its fiduciary duty to DHTX

and work in good faith with Dividend to address these issues, GLP (and

GLG) are intent on using DHTX’s financial and operational issues as

leverage to extort Dividend to sign over DirectMed to DHTX, without

regard to the risk to the DirectMed Agreement. As GLP concedes, DHTX is

currently insolvent as it is unable to pay its bills as they become due. In an

effort to remedy this and to induce GLP to engage in additional fundraising

efforts with Dividend, Mr. Bruggemann, after extensive negotiations via

phone, e-mail and text, sent numerous e-mails with varying proposals for

GLP and Dividend to work together to raise additional funds to secure

DHTX’s viability. Rather than give the Court the full picture of these

extensive negotiations, GLP chose to “cherry pick” one e-mail out of the

many and couch them in terms of Mr. Bruggemann’s “list of demands.”

      27.   As Mr. Bruggemann’s February 1, 2017 e-mail began, his

intent was to “establish a deal structure and concept so we can all move

forward together with a healthy and profitable entity, DHTX Partners, LLC”

with the short-term goal of bringing the lab to full operation status, and the

long term goal of jointly raising capital to meet DHTX’s future financial

needs. See Exhibit P.      Contrary to the Plaintiffs’ assertion that Mr.

Bruggemann demanded “$6,000,000.00 in new capital,” what the e-mail

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bears out is that he was proposing that Dividend and GLP “jointly undertake

the effort to fund DHTX by end of 2018.” Id.

      28.   After a series of phone conversations regarding Mr.

Bruggemann’s initial e-mail, Mr. Bruggemann responded with a slight

variation of the proposal later that same day, to which Clyde Petroni of GLP

responded. See Exhibit Q. As is clear from Mr. Petroni’s e-mail, GLP did

not consider Mr. Bruggemann’s proposal a “demand” at the time, but rather

a negotiation between business partners. In fact, GLP was amenable to Mr.

Bruggemann’s proposal in concept, but was negotiating the dollar amounts.

For example, with respect to Mr. Bruggemann’s request for a salary and

some type of bonus for the countless hours that he had already put in to the

business, Mr. Petroni responded “25000 is not a problem the 200,000 is and

a 20,000 a month salary is, I believe 10,000 a month is ok.” Accordingly, it

is clear that GLP agreed that Mr. Bruggemann deserved some type of bonus

to make up for the year plus that he had worked without salary as well as a

monthly salary going forward, but were haggling over amounts. Id.

      29.   Finally, on February 11, 2018 (after Plaintiffs filed suit but

before Defendants had received notice thereof), Mr. Bruggemann sent yet

another proposal laying out his long term goals for DHTX and clearly

reiterating why DirectMed could not be part of DHTX without Cirrus’

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approval.     See Exhibit R.     This proposal followed a call that Mr.

Bruggemann had with Cirrus executives on February 9, 2018 where Cirrus

again expressed its adamant opposition to SPG having any ownership rights

to DirectMed. With Cirrus’ newly re-confirmed opposition to SPG, Mr.

Bruggemann stated that, “Cirrus is adamantly opposed to doing business

with the SPG. This was again made clear during a call with Cirrus

executives on 2/9/18,” and “DirectMed cannot be absorbed into any

company owned or controlled by SPG (Something more creative will need

to be implemented which does not put the DirectMed contract with Cirrus in

jeopardy).”

      30.     Therefore, it is clear that Mr. Bruggemann was walking a

tightrope by trying to craft a proposal to put DHTX on firm financial

footing, while not putting the DirectMed Agreement at risk, and at the same

time attempting to shore up his personal financial position after having not

being paid for over a year. This he did in the face of continuous threats of

litigation from his so-called partners. Cirrus served itself well by refusing to

do business with SPG.

      31.     Accordingly, after refusing to fund the agreement with Cirrus

on DHTX’s behalf in violation of their fiduciary duties to DHTX, GLP has

refused to work with Dividend to address the operational and funding needs

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of DHTX in an effort to blackmail Dividend into contributing DirectMed,

and therefore the DirectMed Agreement into DHTX. The allegations that

GLP and GLG make against Dividend and its Manager, Ty Bruggemann, are

not only baseless, but, as Dividend has repeatedly advised them, the relief

they seek would likely void the DirectMed Agreement to the detriment of

DHTX, CCL, Dividend, GLP and GLG. However, GLP and GLG’s greed

has blinded them to logic as well as to their fiduciary duties to DHTX.

III.   LEGAL ARGUMENT

       32.   In the Eleventh Circuit, a district court may grant injunctive

relief only if the movant shows the following: (1) substantial likelihood of

success on the merits; (2) irreparable injury will be suffered unless the

injunction issues; (3) the threatened injury to the movant outweighs

whatever damage the proposed injunction may cause the opposing party; and

(4) if issued, the injunction would not be adverse to the public interest. See

Keeton v. Anderson-Wiley, 664 F.3d 865, 868 (11th Cir. 2011); All Care

Nursing Service, Inc. v. Bethesda Memorial Hospital, Inc., 887 F.2d 1535,

1537 (11th Cir. 1989); Carillon Importers, Ltd. v. Frank Pesce Intern.

Group Ltd., 112 F.3d 1125, 1126 (11th Cir. 1997).             Furthermore, a

preliminary injunction is the “exception rather than the rule” and is “an

extraordinary and drastic remedy not to be granted unless the movant clearly

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establishes the burden of persuasion as to each of the four prerequisites.”

Four Seasons Hotels And Resorts, B.V. v. Consorcio Barr, S.A., 320 F.3d

1205, 1210 (11th Cir. 2003); All Care Nursing Service, Inc., 887 F.2d at

1537. In addition, “[t]he chief function of a preliminary injunction is to

preserve the status quo until the merits of the controversy can be fully and

fairly adjudicated.” Ne. Florida Chapter of Ass'n of Gen. Contractors of Am.

v. City of Jacksonville, Fla., 896 F.2d 1283, 1284 (11th Cir. 1990).

      33.    Plaintiffs have alleged the following four (4) causes of action

against Defendants to support their application for a preliminary injunction:

fraud in the inducement; breach of the MIPA; tortious interference with

business relations; and conversion of DHTX’s assets. See Doc. 12 p. 17-23.

      34.    Based upon these four (4) causes of action, the Plaintiffs have

asked for the following relief in the form of a preliminary inunction:

      1.     Enjoin Defendants from . . . continuing to violate the
             MIPA by transferring the units of DirectMed to DHTX
             (“Request for Relief 1”);

      2.     Enjoin Defendants from . . . taking any action to
             jeopardize the Plaintiffs’ interest in DHTX by
             transferring, disposing of, encumbering or otherwise
             disposing of any assets of DHTX or ceasing business
             operations of DHTX including terminating or failing to
             pay employees to force them to leave and cease lab
             operations; (“Request for Relief 2”); and

      3.     Order Defendants Bruggemann and Dividend Health or
             other third party entities owned and controlled by
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             Defendants to provide Plaintiffs with reasonable access
             to DHTX financial books and records pursuant to the
             MIPA (“Request for Relief 3”).

See Doc. 12 p. 2-3.

A.    Plaintiffs inappropriately attempt to bring causes of action for
      conversion and tortious interference with business relations on
      behalf of DHTX without following the strictures of either federal or
      Florida law controlling derivative actions.

      35.    In support of their claim for conversion, Plaintiffs allege that

“Defendants converted DHTX assets for his [sic] own self-serving purpose .

. . in that he usurped the Cirrus contract . . .,” Defendants “utilized the

DHTX Cedar Creek facility to support said contract,” Defendants “diverted

business opportunities from DHTX,” and Defendants “Diverted DHTX

resources.” See Doc. 12 p. 23. In addition, in their Original Complaint,

Plaintiffs allege that Defendants converted “DHTX assets including: the

Cedar Creek Lab facility; business opportunities; project funding;

administrative and financial support; and DHTX documents and confidential

information,” and “diverted business opportunities from DHTX and

converted DHTX resources.” See Doc. 6. p 17-18. Furthermore, in support

of their claim for tortious interference with business relations, Plaintiffs have

alleged that Defendants “intentionally and unjustifiably engaged in direct

competition with the planned business operations of DHTX.” See Doc. 12 p.

22.    In Plaintiffs’ Original Complaint, Plaintiffs allege that Defendants
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“intentionally interfered with DHTX’s business relations with Cirrus.” See

Doc. 6 p. 16. Accordingly, it is clear that the conversion and tortious

interference with business relations causes of action alleged by Plaintiffs

belong to DHTX rather than to Plaintiffs individually.

      36.    Because Plaintiffs are attempting to assert DHTX’s alleged

claims for conversion and tortious interference with business relations,

Plaintiffs are required by Rule 23 to make a demand on the members of

DHTX or explain why such demand is futile prior to bringing suit on behalf

of DHTX regarding such claims.        See FED. R. CIV. P. 23.1; Kamen v.

Kemper Fin. Servis. Inc. 500 U.S. 90, 95, 111 S. Ct. 1711, 114 L. Ed. 2d 152

(1991). Pursuant to Rule 23.1, a member seeking to maintain a derivative

action is required to allege with particularity in the complaint “either a pre-

suit demand to the corporation’s board of directors or forbearance of the

demand because of futility.” Story v. Kang, 2006 U.S. Dist. LEXIS 4354,

2006 WL 163078, *1 (M.D. Fla. 2006). By so doing, “[a] pre-suit demand

may be excused by a proper pleading of demand futility.” McCabe v. Foley,

424 F.Supp.2d 1315, 1319 (M.D. Fla. 2006). Furthermore, if such demand

is not made, the Plaintiffs must plead “with particularity” why a demand was

not made in order to support any claim of demand futility. Id.




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       37.    In addition, pursuant to section 607.07401, Florida Statutes, in

order to bring a derivative action, a plaintiff must:

       allege with particularity the demand made to obtain action by
       the board of directors and that the demand was refused or
       ignored by the board of directors for a period of at least 90 days
       from the first demand, unless, prior to the expiration of 90 days,
       the person was notified in writing that the corporation rejected
       the demand, or unless irreparable injury to the corporation
       would result by waiting for the expiration of the 90-day period.

FLA. STAT. § 607.07401(2); Furthermore, “[i]n a stockholder's derivative

action, the corporation on whose behalf the action is brought is an

indispensable party.” Daniels v. Vann, 396 So.2d 723, 723 (Fla. 4th DCA

1981) (stating that “[t]he absence of the corporate defendant as at least a

nominal party serves to divest the court of jurisdiction as to this aspect of the

case.”); see also Alario v. Miller, 354 So.2d 925, 927 (Fla. 2d DCA 1978)

(finding that “in a derivative action the corporation on behalf of which the

stockholders sue is an indispensable party, and the court has no jurisdiction

to adjudicate the rights of that corporation in its absence as a party . . . .”).

       38.    While Defendants deny Plaintiffs’ allegations in their entirety,

it is clear that the claims for alleged conversion and tortious interference

with business relations seek to assert claims on behalf of DHTX, not on

behalf of GLP and GLG individually. Accordingly, such claims should have

been brought as derivative claims pursuant to Federal Rule of Civil

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Procedure 23.1 and Florida Statue 607.07401. See Foster-Thompson, LLC

v. Thompson, No. 8:04-cv-2128-T-30EAJ, 2005 U.S. Dist. LEXIS 29991 at

*6 (M.D. Fla. Nov. 18, 2005) (holding that suit by a shareholder to claiming

that defendants converted “assets and corporate opportunities of [the LLC]”

must be brought as a derivative action.)

      39.    Therefore, because Plaintiffs have inappropriately attempted to

bring causes of action on behalf of DTHX, have not followed the heightened

pleading requirements of Rule 23.1 or Florida Statues 607.07401 with

respect to derivative actions, and have not included DHTX in this matter

even as a nominal party as required under Florida law, they cannot meet

their burden of showing a substantial likelihood of success on the merits of

their conversion or tortious interference with business relations causes of

action.

B.    Plaintiffs have not met their burden of proving a substantial
      likelihood of success with respect to alleged breaches of the MIPA.

      40.    In support of their request for a preliminary injunction,

Plaintiffs allege the following breaches of the MIPA: 1) “failing to transfer

the CLIA license to Cedar Creek Labs”; 2) “denying Plaintiffs access to

DHTX books and records”; 3) “by entering into a competing agreement with

Cirrus”; and 4) “by failing to file the required organizational documents with

the Secretary of State for the Sate of Texas evidencing Plaintiffs
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membership interests in DHTX.” See Doc. 12 p. 20. Plaintiffs reiterate

these same allegations in their Complaint.       See Doc. 6 p. 14-15.        As

demonstrated below, Plaintiffs have not met their burden of proving a

substantial likelihood of success with regard to any of these allegations.

      1.     CCL is a fully certified CLIA and COLA lab.

      41.    Plaintiffs plead no facts to support its bare allegation that CCL

is not CLIA certified lab. See Doc. 12 p. 11-12. Accordingly, this fact in

and of itself is insufficient to carry their burden for obtaining a preliminary

injunction on this basis. CCL purchased the CLIA license from an entity

named MedicLab Clinical Laboratory LLC. When CLIA issued the new

certificate, it failed to change the name on the certificate to CCL. However,

the CLIA certificate bears the physical address of CCL and names Gerardo

Ramos, CCL’s lab director, as the laboratory director on the CLIA

certificate. See Exhibit S. All of the paperwork has been submitted to the

Department of Health and Human Services to correct this clerical error. Id.

In addition, CCL is a COLA certified lab as well which is an additional

certification that assists CCL with ensuring to healthcare providers and

payors that CCL is a reputable lab. Id. Upon request, Mr. Bruggemann

provided this paperwork to GLP on February 16, 2018. Id. Accordingly,




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there is no factual support, and no merit, to Plaintiffs’ allegations with

regard to CCL’s CLIA status.

      2.    Plaintiffs’ allegations that Defendants have denied them
            access to DHTX’s books and records are unsupported.

      42.   In their Request for Relief 3, Plaintiffs seek the following relief:

      Order Defendants Bruggemann and Dividend Health or other
      third party entities owned and controlled by Defendants to
      provide Plaintiffs with reasonable access to DHTX financial
      books and records pursuant to the MIPA (“Request for Relief
      3”).

See Doc. 12 p. 3. Accordingly, Plaintiffs have based their request for

access to DHTX’s books and records on their rights under the MIPA.

Specifically, Plaintiffs direct the Court to section 4.1.6 of the MIPA which

they refer to as the “Books and Records Provision,” (see Doc. 12 p. 20) and

quote said provision as follows:

      The purchaser and its employees, agents, accounting and legal
      representatives . . . to have reasonable access at reasonable
      times . . . to the books, records . . . and other business and assets
      of DHTX, DHD and Cedar Creek, wherever located.

See Doc. 12 p. 5. Plaintiffs also cite the same provision in their Original

Complaint. See Doc. 6 para. 50(a).

      43.   Section 4.1.6 of the MIPA is included in section 4 of the MIPA

entitled “Covenants Prior to Closing.” See Exhibit B p. 5. Section 4.1

entitled “Affirmative Covenants of the Seller” states, in pertinent part, that

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“[t]hrough the Closing Date . . . Seller will cause DHTX, DHD and Cedar

Creek to:.” Accordingly, section 4.1 should be read in conjunction with

section 4.1.6, which, when read together, clearly means that the access to

books and records provided to GLP pursuant to section 4.1.6 of the MIPA

only extended “through the closing date” or “on or before the 22nd day of

December, 2016 (the “Closing Date”)” and defined in the MIPA.            See

Exhibit B p. 3.     Therefore, GLP’s access to certain books and records

pursuant to section 4.1.6 ended on December 23, 2016, and is thus no longer

available to GLP.

      44.   In addition, even if section 4.1.6 still confers GLP rights to

certain books and records, which Defendants deny, it provides only

“reasonable access at reasonable times,” not unfettered access to all records

at any time. DHTX utilizes three (3) major systems to manage its business:

1) QuickBooks; 2) DAQBilling; and 3) their bank accounts. From these

three sources, one has access to virtually all of the financial records of

DHTX. GLP has full online access to QuickBooks, and admits as much in

their motion. For example, Plaintiffs allege that they performed an analysis

of “the QuickBooks entries for DHTX expenses” and even attached DHTX’s

entire general ledger to their motion as “Exhibit I.” See Doc. 12 p. 12. In

addition, Plaintiffs also have full online access to the DAQBilling program,

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and even attached, as “Exhibit K” to their motion, information directly from

DAQBilling in what they refer to as the “Cedar Creek Labs Monthly

Financial Summary.” See Doc 12. P. 14. Plaintiffs also attach what they

refer to as the “Cedar Creek Labs Billed Date DOS” as “Exhibit M” which

also comes directly out of DAQBilling. See        Doc. 12 p. 15. Plaintiffs

clearly have access to DHTX’s bank accounts, and admit as much in several

places in their motion (“Bruggemann withdrew $22,500 . . . from DHTX

bank accounts” (see Doc. 12 p. 10); “Bruggemann failed to deposit any

monies required under the Amended Loan Agreements” (see Doc. 12 p.

13)). Plaintiffs also obviously have access to DHTX’s contracts as they

attach them to their motion (see Doc. 12 Exhibit G) and refer to them therein

(the “Amended Loan Agreement with Servis First” (see Doc. 12 p. 13).

Accordingly, although Plaintiffs claim that Mr. Bruggemann holds the

“purse strings literally to the billing software, the bank accounts, but more

importantly to the payments and specimens received,” the facts that

Plaintiffs plead to support their unfounded allegations stand in contradiction

to this statement.

      45.    In support of their motion, Plaintiffs attach a letter dated

November 2, 2017 that makes a request for the following records:

      1) The accounts and transaction ledgers for DHTX for 2017;
         and
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      2) Profit and loss statements from July 1, 2017 to present.

See Doc 12 Exhibit H. Plaintiffs then summarily claim that “[d]espite due

demand, the requested financial records [in Exhibit H] were not provided in

their entirety.” See Doc. 12 p. 11. However, Plaintiffs never identify the

specific records that were not provided. In fact, as discussed above, the

documents that Plaintiffs attach to their motion belie their claims that the

requested records were not provided. See, e.g., DHTX’ entire general ledger

attached at Doc. 12 Exhibit I; the “Cedar Creek Labs Monthly Financial

Summary” attached at Doc. 12 Exhibit K; the “Cedar Creek Labs Billed

Date DOS” at Doc. 12 Exhibit M.

      46.   Accordingly, Plaintiffs have not carried their burden to prove a

substantial likelihood of success on the merits of their claim that Defendants

breached the MIPA by “denying Plaintiffs access to DTHX books and

records” (see Doc. 12 p. 20) because section 4.1.6 of the MIPA no longer

provides such access, and Plaintiffs have, through their own pleadings,

demonstrated that Defendants have provided them with reasonable access to

DHTX’s books and records.




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      3.     Plaintiffs’ request that Dividend “transfer the units of
             DirectMed into DHTX” violates the status quo, and their
             allegations that Defendants are violating the non-compete
             provisions in the MIPA are unsupported.

      47.    Based on its allegations that Dividend is competing with

DHTX, which Defendants deny, Plaintiffs request a preliminary injunction

requiring that Dividend “transfer the units of DirectMed into DHTX.” See

Doc. 12 p. 2-3, 26. While Plaintiffs claim that their request for a preliminary

inunction is “narrowly tailored to . . . preserve the status quo,” (see Doc. 12

p. 2) this request is inarguably the antithesis of the status quo. By this

request, Plaintiffs seek to achieve the very object of their lawsuit as plead in

their Complaint – “Direct that Defendants immediately transfer 100% of the

membership units of Directmed DX, LLC to DHTX, LLC to rightfully place

the contract by and between Cirrus and Directmed into DHTX control.” See

Doc. 6 p. 20.

      48.    In cases where the relief requested that would alter rather than

maintain the status quo, the movant must meet a higher standard than a

preliminary injunction that would merely preserve the status quo. See H2O

to GO, L.L.C. v. Martinez, No. 05-21353-CIV, 2005 U.S. Dist. LEXIS

49317 at *6 (S.D. Fla. Aug. 22, 2005) (citing Acierno v. New Castle County,

40 F.3d 645, 653 (3rd Cir. 1994) (a party “seeking a mandatory preliminary

injunction that will alter the status quo bears a particularly heavy burden in
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demonstrating its necessity”); SCFC ILC, Inc. v. Visa USA, Inc., 936 F. 2d

1096,1098-99 (10th Cir. 1991) (preliminary injunctive relief which would

disturb the status quo “require[s] that the movant satisfy an even heavier

burden of showing that the four factors . . . weigh heavily and compellingly

in movant’s favor”).

      49.       In Plaintiffs’ motion, they do not even attempt to meet this

heavier burden with respect to Request for Relief 1.        In their motion,

Plaintiffs claim that Mr. Bruggemann disclosed to GLP that he was in

negotiations with Cirrus prior to GLP’s investment in DHTX, and after GLP

invested in DHTX, Mr. Bruggemann brought a deal with Cirrus to DHTX

ready to sign and fund. See Doc. 12. p 6-8. However, as fully discussed

above (supra sections II.A. and II.B.), when GLP failed to fund the

transaction as promised and Cirrus discovered the nefarious backgrounds of

SPG’ members, at Cirrus’s insistence, the deal with Cirrus was no longer

available to DHTX.       However, as fully discussed above, Mr. Bruggemann

was able to secure a deal with Cirrus through DirectMed, and bestowed all

of the lab-related benefits on CCL via the Subcontractor Agreement. Supra

section II.C.

      50.       In their Complaint, Plaintiffs clearly state that the “DHTX

entity was formed to operate a medical lab licensed in Texas under the name

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Cedar Creek Labs (‘Cedar Creek’) to perform Urinary Tract infection testing

and Toxicology testing of specimens provided from caregivers or other

labs.” See Doc. 6 p. 4. Nowhere in their Complaint or their motion do the

Plaintiffs plead any facts to suggest that any of the Defendants are operating

a competing medical lab or performing any type of lab testing. To the

contrary, Defendants have demonstrated herein that they went to great

lengths not to compete with DHTX or CCL by entering to the Subcontractor

Agreement and authorizing CCL to enter into the Lab Services Purchase

Agreement and the Reagent Purchase Agreement.             Supra section II.C.

Again, as stated above, DirectMed has no employees, no lab, has collected

no samples to be run at a lab, has conducted no lab tests nor referred any

samples out to be tested at any lab, has collected no revenues, does not even

own a bank account.        Plaintiffs have pled no facts to the contrary.

DirectMed merely holds the contract with Cirrus that allows CCL to run the

LDT’s in its lab and reap all of the benefits associated therewith.

      51.    Accordingly, not only have Plaintiffs not met their heightened

pleading requirements for with respect to Request for Relief 1, they have not

even pled sufficient facts to demonstrate that DirectMed is actually

competing with DHTX or CCL.




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      4.     Plaintiffs’ allegations that Defendants have failed to file
             required organizational documents with the State of Texas
             are unsupported.

      52.    Plaintiffs’ last alleged basis to support their breach of contract

claim is also wholly unsupported. While Plaintiffs claim that Defendants

have failed to file “required documents,” they do not identify the Texas

authority allegedly requiring such documents to be filed nor do Plaintiffs

identify the specific documents that they claim should have been filed. In

addition, if Plaintiffs believed that they were being irreparably harmed by

this failure to have such “required documents on file,” they have identified

no reason why they could not themselves have filed them. Defendants are

unaware of any “required documents” that are in need of filing with the State

of Texas with regard to Plaintiffs’ membership interests in DHTX.

      53.    Accordingly, Plaintiffs have not met their burden of proving a

substantial likelihood of success with regard to their breach of contact

claims.

C.    Plaintiffs’ claims that they were fraudulently induced in entering
      into MIPA do not support their request for a preliminary injunction.

      54.    Aside from the fact that Plaintiffs have not pled sufficient facts

to carry their burden with respect to their fraudulent inducement claim as

demonstrated herein, even the likelihood of success on such claim does not

support the injunction relief requested by Plaintiffs.   Requests for Relief 1
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and 3, are clearly based on allegations of breaches of the MIPA, and have

been addressed in detail above. See section III.B. supra. Furthermore,

because     fraudulent   inducement    necessarily    deals   with    alleged

misrepresentations made in the past, in no way can such alleged

misrepresentations be sufficient to support a request that Defendants be

enjoined from engaging in conduct that allegedly would harm DHTX’s

business interest in the future which appears to be the purpose of Request for

Relief 2. See Klay v. United Healthgroup, Inc., 376 F.3d 1092, 1098 (11th

Cir. 2004) (noting that an injunction must be specifically based on a cause of

action).

      55.    In support of their claim for fraudulent inducement, Plaintiffs

claim that Dividend represented that “DHTX was engaged in contract

negotiations with Cirrus,” and that Dividend’s plan was for “the DHTX

business to be grown in tandem with Cirrus.” See Doc. 12 p. 6-7; Doc. 6 p.

5-7, As discussed in detail in section II above, that was Dividend’s plan so

long as the ongoing negotiations with Cirrus culminated in an agreement.

However, as fully discussed in section II above, when GLP failed to provide

the funding for the Cirrus contract as promised causing Cirrus to further

investigate SPG’s member’s checkered past, Cirrus pulled the deal from

DHTX. Accordingly, Plaintiffs’ have not demonstrated the falsity of any of

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the statements that either Dividend or Mr. Bruggemann allegedly made with

regard to Cirrus prior to GLP’s investment in DHTX.

      56.    Furthermore, Request for Relief 2 is impermissibly vague. For

instance, it begins by requesting that the Court enjoin Defendants from

“taking any action to jeopardize the Plaintiffs’ interests in DHTX” and goes

on to give certain examples of things Plaintiffs suggest would jeopardize

such interests. See Doc. 12. P. 27. Plaintiffs, by their request, suggest that

“transferring, disposing of, encumbering, or otherwise disposing of any

assets of DHTX” should be enjoined. Id. Taken to its logical conclusion,

this restriction would prevent Defendants from paying bills as that would

dispose of the assets of DHTX. Federal Rule of Civil Procedure 65(d)

provides that “every order granting an injunction … shall be specific in

terms; [and] shall describe in reasonable detail … the act or acts sought to be

restrained….” FED. R. CIV. P. 65(d). Under this rule, “an ordinary person

reading the court’s order should be able to ascertain from the document itself

exactly what conduct is proscribed.” Hughey v. JMS Dev., 78 F.3d 1523,

1531 (11th Cir.1996). Requesting that Defendants be restrained from “any

action to jeopardize the Plaintiffs’ interests in DHTX” is simply too vague to

give Defendants the appropriate notice of what acts Plaintiffs might consider

to jeopardize their rights.

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IV.   CONCLUSION

      57.   Based on the foregoing, Defendants respectfully request that the

Court deny the Plaintiffs’ Motion for a Preliminary Injunction, and for all

other relief to which they have shown themselves justly entitled.

                              Respectfully submitted,

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                              Attorney for Defendants.


                      CERTIFICATE OF SERVICE

      I hereby certify that on March 13, 2018, I electronically submitted the
foregoing document with the clerk of court for the U.S. District Court,
Northern District of Florida, using the CM/ECF electronic case filing system
for U.S. District Courts, Northern District of Florida.


                                /s/ DUDLEY G. JORDAN
                                ___________________________________
                                DUDLEY G. JORDAN




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  CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(F)

      I hereby certify that this Response complies with Local Rule 7.1(f)
because contains 7,900 words, excluding the case style, signature block and
required certificates.


                               /s/ DUDLEY G. JORDAN
                               ___________________________________
                               DUDLEY G. JORDAN




DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR
PRELIMINARY INJUNCTION AND MEMORANDUM OF LAW 38
